     Case 8:21-bk-11710-SC             Doc 477 Filed 10/23/24 Entered 10/23/24 08:34:11             Desc
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                                                                          CLERK U.S. BANKRUPTCY COURT
                                                                          Central District of California
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                                 UNITED STATES BANKRUPTCY COURT
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                    CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
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12   In re:                                              Case No.: 8:21-bk-11710-SC
13   Jamie Lynn Gallian,                                 CHAPTER 7
14                                                       STANDING ORDER REQUIRING
                                                         PERSONAL APPEARANCES
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16                                         Debtor(s).
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18             The Court, in consideration of the discussion on the record during the October

19   22, 2024 hearing, Jamie Lynn Gallian’s continuous disruption on the record, and the

20   docket as a whole, finds good cause to issue a standing order requiring Jamie Lynn

21   Gallian’s personal appearance for all matters. Absent further Court approval, virtual or

22   telephonic appearances are not permitted by Jamie Lynn Gallian.

23             IT IS SO ORDERED.

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25            Date: October 23, 2024

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